                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:13-00091
                                                       )       JUDGE CAMPBELL
JOHN FISHER                                            )


                                               ORDER

         Pending before the Court is the Defendant’s pro se Motion For Preliminary Injunction

Transfer To Grayson County (Docket No. 90), filed in this case and in the Defendant’s civil case

– Case No. 3:14-01795. On or before September 30, 2014, counsel for the Defendant and

counsel for the Government shall each file a response to the Motion.

         The Court has recused itself in the civil case to keep the criminal and civil cases separate.

(Docket No. 15 in Case No. 3:14-01785).

         It is so ORDERED.



                                                       _________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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